     Case 1:23-cr-00019-JRH-BKE Document 42 Filed 11/28/23 Page 1 of 1
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
                                         AUGUSTA DIVISION




  CRIMINAL CASE NO.                                   DATE:


  USA                                                TIME    :                    3^^ 90^
 JUDGE:           Honorable J. Randal Hall           COURTROOM DEPUTY: Lisa Widener


 COURT REPORTER: Lisa Davenpoit                      INTERPRETER:


 ATTORNEY(S)FOR THE GOVERNMENT:                      ATTORNEY(S)FOR THE DEFENDANT:




 PROBATION OFFICER:                                  DEFENDANT SENTENCED ON COUNT(S):

                 brows

 1      PSI reviewed in full                         Custody:            Ail                  months


 A      Objections to factual basis

 ^ Objections to Guideline Calculations ^            Supervised Release:                       years

JA Changes ordered
                                                           Standard and Special Conditions of
                                                    Release to be explained by USPO and a written
 El Factual Witness                                 to be provided to defendant


  M Statement by Counsel                            Probation
                                                                                 W
  N Statement by Defendant                          Fine $          15D0
  ^ Appeal rights of defendant explai aineorwaive   Restitution $

                                                    AVAA Sp. Assessment $
Facility requested/recommended:                     Special Assessment $         IgQ
                                                    Community Service:                 hours within
                                                             months of release

Defendant remanded                                  Dismiss Count(s)
Voluntary sun-ender                                 Plea agreement accepted _
Departure from guidelines        Ji                 Upward       — Downward
